Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 1 of 161




              EXHIBIT 438
                          Part 1 of 3
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 2 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 3 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 4 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 5 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 6 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 7 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 8 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 9 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 10 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 11 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 12 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 13 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 14 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 15 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 16 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 17 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 18 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 19 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 20 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 21 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 22 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 23 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 24 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 25 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 26 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 27 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 28 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 29 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 30 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 31 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 32 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 33 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 34 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 35 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 36 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 37 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 38 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 39 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 40 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 41 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 42 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 43 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 44 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 45 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 46 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 47 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 48 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 49 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 50 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 51 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 52 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 53 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 54 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 55 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 56 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 57 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 58 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 59 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 60 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 61 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 62 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 63 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 64 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 65 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 66 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 67 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 68 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 69 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 70 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 71 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 72 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 73 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 74 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 75 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 76 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 77 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 78 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 79 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 80 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 81 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 82 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 83 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 84 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 85 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 86 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 87 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 88 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 89 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 90 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 91 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 92 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 93 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 94 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 95 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 96 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 97 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 98 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 99 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 100 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 101 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 102 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 103 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 104 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 105 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 106 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 107 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 108 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 109 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 110 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 111 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 112 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 113 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 114 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 115 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 116 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 117 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 118 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 119 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 120 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 121 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 122 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 123 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 124 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 125 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 126 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 127 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 128 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 129 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 130 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 131 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 132 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 133 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 134 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 135 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 136 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 137 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 138 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 139 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 140 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 141 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 142 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 143 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 144 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 145 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 146 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 147 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 148 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 149 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 150 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 151 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 152 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 153 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 154 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 155 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 156 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 157 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 158 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 159 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 160 of 161
Case 4:17-cv-03962-HSG Document 389 Filed 03/04/22 Page 161 of 161
